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    Fueling the Electric
  Transportation Industry



                                                                   COULOMB
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Plug-in Prius in 2009

BMW Mini in 2009

Chevy Volt in 2010
Saturn Vue in 2010
Mercedes in 2010

Nissan BEV in 2010
                  Coulomb Technologies                               2
                                                                         COULOMB
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“We believe Plug-in Hybrid Electric
   Vehicles have the potential to
 revolutionize the auto industry” -
          Morgan Stanley



                   Coulomb Technologies                               3
                                                                          COULOMB
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There are 247M Cars but
only 53M Garages In the
U.S.

             so…
Coulomb sells charging stations
and the ChargePoint Network
for cars that are parked at
apartments, condominiums,
curbside and at the workplace

                         Coulomb Technologies                               4
                                                                                COULOMB
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                Coulomb Technologies
                                                                   COULOMB
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We sell charging stations                          We sell subscriptions to
 for curbside and parking                           drivers so they can
 lots and…                                          use the stations
              It’s a low fixed cost, highly profitable business
                            Coulomb Technologies                               6
                                                                                   COULOMB
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   Through networking we bring to the fueling business:
       A method to pay for electricity, maintenance, and capital
       A value proposition for someone buying a station (a host)
       Grid load management capabilities – solving utility concerns
       Authorized energizing eliminates energy theft
       Authorized energizing increases safety and reduces liability
       Remotely resettable Ground Fault Interrupter
       Elimination of cord theft
       Circuit load management capabilities
       Remote monitoring and diagnostics
       The ability for the driver to find and navigate to available idle stations

                  The convergence of networking technology and
                  vehicle energy management technology creates
                          an exciting business opportunity

                                 Coulomb Technologies                               7
                                                                                        COULOMB
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                 Features in blue require networking
                Coulomb Technologies                               8
                                                                       COULOMB
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   Our hardware and software
    prototypes are in test and
    schedule for Q4 2008
    delivery

   We have relationships with
    Automakers, Utilities, Cities,
    Technology Partners and
    Distributors
                                               TELEBEAM

   We are looking for Series A
    funding


                                 Coulomb Technologies                               9
                                                                                        COULOMB
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    Successful Networking Company Entrepreneurs and Executives, with Municipal
                              Government Experience

   Richard Lowenthal, CEO
       GM & VP Cisco Systems, VP R&D StrataCom, VP Engineering Convergent Technologies, Mayor of Cupertino
   Praveen K. Mandal, President
       VP R&D Lucent Technologies, VP R&D Riverstone Networks, CEO Pipal Systems
   Mike Harrigan, Vice President of Business Development
       VP Sales, Marketing and Customer Service Tesla Motors, VP Shoreline Communications, Founding CEO Network
        Computing Devices
   Tom Tormey, Vice President of Product Management
       VP Engineering Invensense, VP Engineering Echelon, VP Marketing & Sales DesignTech
   Dave Baxter, Vice President of Hardware Engineering
       VP Engineering 3Com, VP Engineering Adept Technology, Mayor of Monte Sereno
   Harjinder Bhade, Vice President of Software Engineering
       Sr. Director Software, Lucent, Riverstone, Pipal, Pluris, ZeitNet


   16 years of municipal government experience




                                         Coulomb Technologies                                                 10
                                                                                                                   COULOMB
